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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 4:07CR3152
                                    )
             v.                     )
                                    )
JOHN F. KROTZ,                      )        REPORT, RECOMMENDATION
                                    )               AND ORDER
                  Defendant.        )
                                    )


                               INTRODUCTION

     Defendant Krotz’ “Motion to Suppress,” (filing 21), seeks an
order suppressing “the physical evidence, statements,
investigations and interrogations obtained by the Government
arising out of the search of the residence at 6008 Dogwood,
Lincoln, Nebraska on October 10, 2007 and the subsequent search
of the residence at 2001 Washington, Lincoln, Nebraska on or
about October 18, 2007. . . .”       Filing 21, p. 1.        Since the body
of the motion and accompanying brief indicated the defendant was
challenging a search conducted pursuant to a warrant, the court
required the defendant to file the relevant warrant affidavit,
warrant, and warrant return for an initial determination of
whether an evidentiary hearing should be scheduled.              Filing 23.


     The defendant filed the warrant application, warrant, and
warrant return.    See filing 25.       Upon the court’s review of these
filings, the court ordered the defendant to file a supplemental
brief clarifying the basis of his Fourth Amendment challenges to
the searches of the 6008 Dogwood and 2001 Washington properties.
Filing 28.
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     In response, the defendant filed a supplemental brief which
explained:


     Defendant Krotz’s Motion is more appropriately
     considered a Motion in Limine seeking exclusion of any
     physical evidence, statements, investigations and
     interrogations obtained by the Government arising out
     of the search of the apartment located at 2001
     Washington Street #2 in Lincoln, Nebraska on or about
     October 18, 2007, as any such evidence is not relevant
     to the charges contained in the Indictment.

Filing 32.   The defendant further explained that evidence found
in the 2001 Washington Street apartment, which was abandoned by
the defendant on August 31, 2007, is not relevant to the pending
charge that defendant engaged in illegal drug activity on October
10, 2007.    The defendant specifically claims any evidence found
during the 2001 Washington Street search is inadmissible under
Rule 404(b).   Filing 32, pp. 3-4.


     The government responded by filing a brief opposing the
motion to suppress, (filing 33), and a notice pursuant to Rule
404(b) stating the government intends to offer evidence that
defendant Krotz occupied apartment #2 at 2001 Washington Street
in Lincoln, Lancaster County, Nebraska on or before August 31,
2007, and that narcotics-related evidence was seized from that
apartment on October 18, 2007.       Filing 34.      The government’s
brief argues that the evidence seized from the 2001 Washington
apartment: 1) should not be suppressed under the Fourth
Amendment, and 2) is admissible under Rule 404(b).


                           ISSUES ADDRESSED


     Determining whether the evidence seized from the 2001
Washington apartment is relevant and admissible under the Federal


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Rules of Evidence is properly determined by the presiding trial
judge.   The undersigned magistrate judge will not address that
issue in this report and recommendation.


     However, in the interest of assuring that any Fourth
Amendment claims potentially raised have been resolved prior to
trial, this report and recommendation will discuss whether the
evidence seized from the 6008 Dogwood and 2001 Washington
residences should be suppressed.         Having reviewed the warrant
application, warrant, and warrant return, I recommend that
defendant’s constitutional challenges to admissibility of this
evidence should be denied.


                         STATEMENT OF FACTS


     On October 10, 2007, Officer Duane Winkler of the Lincoln
Police Department in Lincoln, Nebraska completed and signed a
warrant application to search a residence located at 6008 Dogwood
Street in Lincoln, Nebraska.       According to his affidavit, Officer
Winkler, a Lincoln Police Officer for over six years, had
received training from the Lincoln/Lancaster County Narcotics
Task Force and other law enforcement agencies regarding the use,
sale, and growing of marijuana, and in his role as a Task Force
investigator, he had accumulated the following information:


     •     Lincoln Police Officer Herrera filed a report in May of
           2006 which stated he had contacted defendant Geoffrey
           A. Leach concerning a burglary report for 2726 S. 18th
           Street, where defendant Leach was living at the time,
           and saw paraphernalia related to a marijuana grow
           operation in a closet lined with reflective material
           and noted a strong odor of air freshener. Officer
           Herrera was an investigator for the Lincoln-Lancaster
           County Narcotics Task Force for four years and had
           experience in grow operations and narcotics
           investigations.

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     •    On May 27, 2007, a confidential informant of unknown
          reliability reported short-term traffic consistent with
          drug sales at the 6008 Dogwood residence.

     •    On August 8, 2007, a confidential informant(CI) who had
          previously provided reliable and corroborated
          information to law enforcement told Officer Winkler
          that defendant Leach was growing and selling marijuana.
          Defendant Leach had previously been arrested in
          September 1993 for Possession of Controlled Substances
          with Intent to Deliver and possession of hashish and
          marijuana.

     •    According to Lincoln Electric System records, defendant
          Leach was financially responsible for the electric
          utility bills associated with a home located at 6008
          Dogwood Street in Lincoln, Nebraska. As of August 20,
          2007, LES records indicated the electricity usage at
          6008 Dogwood for the months of May through August of
          2007 far exceeded the usage for the same months in
          2006, and far exceeded the average usage of other homes
          in the neighborhood.

     •    On October 9, 2007 at 2:30 a.m., Officer Winkler
          noticed trash had been placed on the city right-of-way
          in front of the 6008 Dogwood residence. Officer
          Winkler retrieved and looked through the trash, and
          found a wire scraping tool with residue on it,
          marijuana stems and seeds, a used pipe screen with
          residue, and an LES utility bill for the 6008 Dogwood
          residence. Officer Winkler tested the residue, and it
          was positive for marijuana.


     Officer Winkler’s warrant affidavit requested authority to
search the property at 6008 Dogwood Street, and to videotape,
photograph, and seize any controlled substances; any
paraphernalia for using, preparing, manufacturing, and
distributing marijuana; any documentary evidence related to the
source or buyers of any controlled substances; any proceeds
directly attributable to the sale of controlled substances; and
any evidence concerning who occupied the premises.


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     The warrant application warrant application was granted, and
a warrant to search the 6008 Dogwood residence was issued on
October 10, 2007 by a County Court Judge for Lancaster County,
Nebraska.


     The search warrant was executed on October 10, 2007.                 At the
time of the search, defendant Krotz was living in a basement
apartment of the 6008 Dogwood residence.              Filing 22 (defendant’s
brief), p. 2.     Items were seized during the search, and the
inventory of property seized was filed on October 16, 2007.                  The
items listed in the inventory are consistent with the scope of
search authorized under the warrant.


     As to the search of the apartment at 2001 Washington Street,
the defendant’s supplemental brief explains that on October 18,
2007, the Lincoln Police were called to investigate a complaint
by defendant Krotz’ former landlord concerning suspicious items
Krotz left behind when he abandoned the 2001 Washington
apartment.     The defendant’s supplemental brief states that
defendant Krotz’ lease had expired on August 31, 2007, and when
the officers investigated the abandoned apartment on October 18,
2007, they found evidence indicative of growing, possessing, and
selling marijuana.      Filing 32, (defendant’s supplemental brief),
p. 2.


                             LEGAL ANALYSIS


                           6008 Dogwood Street


        The defendant does not argue that Officer Winkler
intentionally or recklessly misstated or excluded material
information when requesting a warrant to search the residence at


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6008 Dogwood, nor does he claim the issuing judge wholly
abandoned his or her judicial role in issuing the warrant.
Defendant Krotz is therefore not entitled to an evidentiary
hearing to determine if the warrant application supported a
probable cause finding by the issuing judge.           Franks v. Delaware,
438 U.S. 154, 170 (1978); United States v. Frazier, 280 F.3d 835,
845 (8th Cir. 2002).    Accordingly, this court’s review of the
issuing court’s probable cause determination is based on the
facts set forth in the warrant application itself.             “After a
judge has issued a search warrant upon a finding of probable
cause, ‘that finding deserves great deference.’”             U.S. v. Proell,
485 F.3d 427, 430 (8th Cir. 2007)(quoting Walden v. Carmack, 156
F.3d 861, 870 (8th Cir. 1998)).


     A judicial officer presented with a warrant application must
consider the "totality of the circumstances" to determine if
probable cause exists to justify issuing a search warrant.
Illinois v. Gates, 462 U.S. 213, 230 (1983).           “Probable cause to
issue a search warrant exists when an affidavit [or testimony] in
support of the warrant sets forth sufficient facts to establish
that there is a ‘fair probability that contraband or evidence of’
criminal activity will be found in the particular place to be
searched.”    Proell, 485 F.3d at 430(quoting United States v.
Davis, 471 F.3d 938, 946 (8th Cir. 2006)(quoting Gates, 462 U.S.
at 238 (1983)).   The court must “‘make a practical, common-sense
decision’ of whether, given all the circumstances set forth in
the warrant application, there is a fair probability that
evidence of a crime will be found in a particular place.”               Gates,
462 U.S. at   238 (quoting Jones v. United States, 362 U.S. 257,
271 (1960)); United States v. Horn, 187 F.3d 781, 786 (8th Cir.
1999)(quoting Gates, 462 U.S. at 238)).



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     Upon review of the warrant affidavit, there was ample
evidence to support issuance of a warrant to search the home
located at 6008 Dogwood Street.       Finding a wire scraping
tool and a used pipe screen with marijuana residue, along with an
LES utility bill for the 6008 Dogwood address in the trash
outside that residence, standing alone, provided probable cause
to search that residence for illegal drug activity.              See U.S. v.
Biondich, 652 F.2d 743, 745 (8th Cir. 1981).           The additional
information accumulated by Officer Winkler concerning the high
electrical usage at this location, defendant Leach’s past
involvement and suspected current involvement in growing,
possessing, and selling marijuana, and defendant Leach’s
occupancy of the 6008 Dogwood residence served to further
buttress a finding that a search of this residence would likely
lead to the discovery of criminal activity.


     Defendant Krotz’ initial brief argued that since he was not
suspected of conducting criminal activity, that portion of the
6008 Dogwood residence where defendant Krotz lived should not
have been searched.     However, “search warrants are not directed
at persons; they authorize the search of places and the seizure
of things, and as a constitutional matter, they need not even
name the person from whom the things will be seized.”              Zurcher v.
Stanford Daily, 436 U.S. 547, 555 (1978).            “The [Fourth]
Amendment has not been a barrier to warrants to search property
on which there is probable cause to believe that fruits,
instrumentalities, or evidence of crime is located, whether or
not the owner or possessor of the premises to be searched is
himself reasonably suspected of complicity in the crime being
investigated.”   Id. at 549-50.      Therefore, there is no merit to
defendant Krotz’ claim that the police lacked probable cause to
search his portion of the 6008 Dogwood residence merely because


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Krotz himself was not identified as a suspect prior to that
search.


     Finally, even if the court assumes that the affidavit failed
to provide a sufficient nexus between the 6008 Dogwood residence
and criminal drug activity, the Leon good-faith exception saves
the evidence from suppression under the facts of this case.
United States v. Leon, 468 U.S. 897, 921 (1984).             Under the
good-faith exception, evidence seized pursuant to a search
warrant issued by a judge will not be suppressed “if the
executing officer’s reliance upon the warrant was objectively
reasonable.”    Proell, 485 F.3d at 430.        Under the facts presented
in this case, the officers’ belief that the warrant authorized a
search of the residence at 6008 Dogwood was objectively
reasonable.    Any motion to suppress the evidence found during the
search conducted pursuant to the warrant cannot be suppressed.
U.S. v. Ross, 487 F.3d 1120, 1122-23 (8th Cir. 2007).


                        2001 Washington Street


     A defendant challenging a search under the Fourth Amendment
has the initial burden of proving he has a legitimate expectation
of privacy in the searched premises.         Absent such a showing, he
lacks standing to raise a Fourth Amendment claim.             U.S. v.
Morales, 737 F.2d 761, 763 (8th Cir. 1984).


     A defendant has no standing to contest a warrantless search
of an apartment after he has moved out and his lease has expired.
U.S. v. Hoey, 983 F.2d 890 (8th Cir. 1993)(holding that the
warrantless search of the apartment the defendant had abandoned
was valid).    See also Abel v. United States, 362 U.S. 217, 241
(1960)(stating the warrantless search of a hotel room was lawful


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because the defendant had already vacated the room when the
search was conducted); U.S. v. Reyes, 908 F.2d 281, 286 (8th Cir.
1990)(holding the defendant lacked any standing to object to the
search of a rented locker after the rental period had expired);
U.S. v. Morales, 737 F.2d 761, 763 (8th Cir. 1984)(holding
defendant lacked standing to challenge the search of a motel room
he vacated).


     Based on the facts set forth in the defendant Krotz’ briefs,
Krotz was living at 6008 Dogwood and not in the 2001 Washington
apartment on October 18, 2007; his lease for the 2001 Washington
apartment had expired on August 31, 2007; and his former landlord
had contacted the police to investigate items Krotz had left
behind in the apartment.     Defendant Krotz has made no showing
that he possessed any legitimate expectation of privacy in the
items remaining in the 2001 Washington apartment on October 18,
2007.   “There can be nothing unlawful in the Government’s
appropriation of such abandoned property.”           Abel v. U.S., 362
U.S. 217, 241 (1960).    Defendant Krotz’ motion to suppress the
items and evidence seized on October 18, 2007 during the
warrantless search of his former apartment at 2001 Washington
Street should be denied.


     IT THEREFORE HEREBY IS RECOMMENDED to the Honorable Richard
G. Kopf, United States District Judge, that to the extent the
motion to suppress, filing 21, seeks suppression of evidence,
this motion should be denied in all respects.

     The parties are notified that a failure to object to this
recommendation in accordance with the local rules of practice may
be held to be a waiver of any right to appeal the district
judge’s adoption of this recommendation.




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     IT FURTHER HEREBY IS ORDERED:

     1.    To the extent the defendant’s motion, filing 21, seeks
           a ruling concerning the relevance and admissibility of
           evidence pursuant to the Federal Rules of Evidence, the
           motion is a motion in limine.

     2.    The clerk is directed to identify filing 21 as not only
           a motion to suppress, but also a motion in limine. The
           clerk shall identify filings 22 and 32 as defendant
           Krotz’ briefs in support of his filing 21 motion in
           limine and motion to suppress, and filing 33 as the
           government’s brief in opposition to the filing 21
           motion in limine and motion to suppress. To the extent
           filing 21 is a motion in limine, it shall not be
           referred to the undersigned for ruling.

     3.    Trial is set to commence at 9:00 a.m. on February 25,
           2008, for a duration of four trial days before the
           Honorable Richard G. Kopf in Courtroom 1, United States
           Courthouse and Federal Building, 100 Centennial Mall
           North, Lincoln, Nebraska. Jury selection will be at
           the commencement of trial.


     DATED this 28th day of January, 2008.

                                   BY THE COURT:


                                   s/  David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge




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